
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH





NO. 2-08-272-CV



SONG SARAH MICHAELS

APPELLANT



V.



US BANK, N.A., TRUSTEE	APPELLEE



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FROM THE 89TH DISTRICT COURT OF WICHITA COUNTY



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MEMORANDUM OPINION
(footnote: 1)


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Appellant Song Sarah Michaels’s appellate brief was initially due November 12, 2008. &nbsp;After receiving numerous extensions, Appellant was given a final briefing deadline of April 22, 2009. &nbsp;

On May 11, 2009, we notified appellant that her brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;Tex. R. App. P. 38.6(a). &nbsp;We stated we could dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;

Appellant filed a response on May 26, 2009, entitled “A Plea for Continuance of the Appeal Case,” admitting that she had received our May 11 letter on May 12 but did not open it until May 21. &nbsp;She contends that she had drafted a brief 
but could not find the main post office in Dallas in time to file her brief, so she chose not to file it nor did she submit it with her response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 Tex. R. App. P. 38.8(a), 42.3(b). &nbsp;Additionally, we deny appellant’s pending “Motion To Invalidate The Foreclosure.”
(footnote: 2)


PER CURIAM



PANEL: &nbsp;WALKER, MCCOY, and MEIER, JJ.



DELIVERED: &nbsp;June 4, 2009

FOOTNOTES
1:See
 Tex. R. App. P. 47.4.


2:We have previously denied the latter half of that motion entitled “Motion To Suspend The Eviction Process” on December 3, 2008.




